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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

FORT WAYNE DIVISION

IN THE MATTER OF: ) CASENO.  04-10427

) CHAPTER 11
AUBURN FOUNDRY, INC. ) REG/me

)

)

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}

Debtor(s)

ORDER

At Fort Wayne, Indiana, on March 17, 2004.

Upon the application of Auburn Foundry, Inc., Debtor-In-Possession, praying for authority
to employ and appoint Baker & Daniels as counsel to represent the Debtor-In-Possession herein, and
no adverse interest being represented, it is

ORDERED that the Debtor-In-Possession be, and it hereby is, authorized to employ Baker

& Daniels as counsel to represent the Debtor-In-Possession.

/s/ Robert E. Grant
Judge, United States Bankruptcy Court

Exhibit A

